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                                   UNITED STATES DISTRICT COURT
9
                                SOUTHERN DISTRICT OF CALIFORNIA
10
11 LAZARO BANDA-GAXIOLA                             )   Criminal No. 09-CR-1904-L
                                                    )   Civil No.    11-CV-2421-L
12                                                  )
                           Petitioner,              )   ORDER DISMISSING WITH
13                                                  )   PREJUDICE PETITIONER’S
     v.                                             )   MOTION FOR REDUCTION OF
14                                                  )   SENTENCE UNDER 28 U.S.C. § 2255
     UNITED STATES OF AMERICA,                      )
15                                                  )
                                                    )
16                         Respondent.              )
                                                    )
17
            On October 17, 2011, Petitioner Lazaro Banda-Gaxiola (“Petitioner”) filed a Motion for
18
     Reduction of Sentence pursuant to 28 U.S.C. § 2255. Petitioner essentially requests that this
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     Court grant a downward departure of up to two points due to Petitioner’s immigration removal
20
     status. The Court has reviewed the record in this case, which clearly establishes that on May 31,
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     2011, Petitioner waived both his right to appeal and to collaterally attack his conviction and
22
     sentence. (Plea Agreement ¶ XI.) Petitioner’s motion raises no challenge to the validity of that
23
     waiver, therefore this Court lacks jurisdiction to consider any collateral challenge to his
24
     conviction and sentence. See Washington v. Lampert, 422 F.3d 864, 869-70 (9th Cir. 2005)
25
     (recognizing that if sentencing agreement’s waiver of the right to file a federal habeas petition
26
     was valid, district court lacked jurisdiction to hear the case).
27
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1          Accordingly, Petitioner’s Motion For Reduction of Sentence pursuant to 28 U.S.C. §
2 2255 is DISMISSED WITH PREJUDICE.
3          IT IS SO ORDERED.
4 DATED: October 21, 2011
5
                                                   M. James Lorenz
6                                                  United States District Court Judge
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     COPIES TO:
11 PETITIONER
     U.S. ATTORNEY’S OFFICE
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